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          Exhibit A
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                                         August 11, 2020


VIA FEDEX OVERNIGHT

Board of Directors
EXELON CORPORATION
10 South Dearborn Street
Chicago, IL 60680

       Re:     Exelon Corporation Stockholder Litigation Demand

Dear Board of Directors:

        We write on behalf of our client, James Clem, a stockholder of Exelon Corporation
("Exelon" or the "Company"). Mr. Clem demands that Exelon's Board of Directors (the "Board")
investigate, address, remedy, and commence proceedings against certain of the Company's current
and former officers and directors for violations of anti-bribery laws, breaches of fiduciary duties,
violations of sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the "Exchange
Act"), waste of corporate assets, unjust enrichment, and violations of all other applicable laws,
rules, and regulations related to the wrongdoing alleged in this demand, as detailed below.

                                           OVERVIEW

        Exelon, a utility services holding company, engages in the generation and marketing of
energy in the United States and Canada. One of its subsidiaries is Commonwealth Edison
Company ("ComEd"), which, according to the Company's Quarterly Report on Form 10-Q filed
with the U.S. Securities and Exchange Commission ("SEC") on May 8, 2020, purchases, transmits,
and distributes electricity in Northern Illinois, including the City of Chicago.

        In a July 17, 2020 press release, the U.S. Department of Justice ("DOJ") announced that it
entered into a settlement agreement with ComEd to resolve the criminal investigation into the
Company's years-long illegal bribery scheme. ComEd admitted to arranging jobs and contracts
for political allies of a high-level Illinois state official between 2011 and 2019, some which
required little or no work, including appointing an individual to ComEd's board of directors. The
state official is widely believed to be Illinois House Speaker Michael J. Madigan. During the time
of the bribery, the Company had substantial matters before the Illinois state legislature, including
legislation affecting the rate-making process.

         As part of the settlement, ComEd agreed to pay a $200 million fine and institute certain
reforms as part of a Deferred Prosecution Agreement (the "DPA"). Further, the Company must
continue to cooperate with the DOJ investigation. Notable, as stated in the DPA, ComEd agreed
that it will not seek any tax deduction in connection with any payment of the fine and it will not
seek to recover any part of the fine from its customers. As a result, the entire $200 million will be
borne by the Company's stockholders.
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             The bribery described above and in the DOJ's filings is not the end of the wrongdoing at
      the Company. The bribery scheme had the related effect of rendering numerous of the Company's
      public statements false and misleading. For instance, the Company had a Code of Business
      Conduct (the "Code") since at least 2012 that prohibited lobbying activities on behalf of Exelon
      without express approval of the Company's Government and Regulatory Affairs or the Legal
      Department. In particular, the Code stated:

             Lobbying

             Exelon is subject to regulation at various levels of government, and is profoundly
             affected by decisions of elected and appointed government officials. Exelon is
             therefore engaged with and actively lobbies such government officials in the
             policymaking process in support of Exelon's business interests on various issues. It
             is important to our success that advocacy on behalf of Exelon be consistent,
             coordinated and focused on both our short-term and long-term interests. No Exelon
             personnel may engage in lobbying activities on behalf of the Company, testify or
             provide comments before any legislative committees for Exelon, or accept an
             appointment to an advisory or study group established by a legislative body or
             administrative agency on behalf of Exelon without first obtaining the approval of
             Government and Regulatory Affairs or the Legal Department. Government and
             Regulatory Affairs will also help ensure compliance with all lobbying registration,
             reporting, and disclosure requirements. All Exelon lobbyists are expected to follow
             both the letter and spirit of the lobbying laws and to maintain the highest standards
             of professional integrity.

      The Company explicitly noted the Code and attached it as an exhibit to its filings with the SEC,
      including its Annual Report on Form 10-K for the year ended December 31, 2018.

              Obviously, the Code was not followed. Thus, the Company's public statements touting the
      Code were false and misleading. In addition, the Company issued public statements that included
      the financial results from ComEd. The statements did not disclose the effect that the bribery
      scheme had on those statements, including costs incurred for individuals that did little or no work,
      or the rates that ComEd's customers paid. Accordingly, these statements were likewise false and
      misleading.

              While the Company's financial statements did include risk disclosures, these were
      boilerplate and failed to warn about the specific issues present here. For example, the Company's
      Annual Report for 2018 stated, in pertinent part:

             During the fourth quarter of 2018, each registrant's management, including its
             principal executive officer and principal financial officer, evaluated the
             effectiveness of that registrant's disclosure controls and procedures related to the
             recording, processing, summarizing and reporting of information in that registrant's
             periodic reports that it files with the SEC. These disclosure controls and procedures
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             have been designed by each registrant to ensure that (a) information relating to that
             registrant, including its consolidated subsidiaries, that is required to be included in
             filings under the Securities Exchange Act of 1934, is accumulated and made known
             to that registrant's management, including its principal executive officer and
             principal financial officer, by other employees of that registrant and its subsidiaries
             as appropriate to allow timely decisions regarding required disclosure, and (b) this
             information is recorded, processed, summarized, evaluated and reported, as
             applicable, within the time periods specified in the SEC's rules and forms. Due to
             the inherent limitations of control systems, not all misstatements may be detected.
             These inherent limitations include the realities that judgments in decision-making
             can be faulty and that breakdowns can occur because of simple error or mistake.
             Additionally, controls could be circumvented by the individual acts of some
             persons or by collusion of two or more people.

             The Company also issued materially false and misleading Proxy Statements during the time
      period of wrongdoing that misstated the Board's role in risk management. For example, the
      Company's 2019 Proxy Statement filed with the SEC on March 20, 2019, highlighted supposed
      "Board [a]ccountability" by claiming that:

             The Board regularly reviews management's systematic approach to identifying and
             assessing risks faced by Exelon and each business unit, taking into account
             emerging trends and developments and in connection with capital investments and
             business opportunities.

                                           *       *       *

             The Company and its business units/operating companies also have Risk
             Management Committees composed of select senior officers including the chief
             executive officers of those business units/operating companies and the Exelon
             CEO, who meet regularly to discuss matters related to enterprise risk management
             generally, risks associated with new developments or proposed transactions under
             consideration, and ensure that processes are in place to identify and assess risks
             within the business as well as measure and manage risk exposures in accordance
             with Exelon's policies, programs, strategies, and risk appetite as approved by the
             Exelon Board.

            The misleading 2019 Proxy Statement was the necessary and essential element of getting
      the members of the Board reelected.

              As a direct result of this unlawful course of conduct, the Company is now the subject of at
      least one federal securities class action lawsuit. The DPA greatly increases the chances that this
      class action survives any anticipated motion to dismiss, further compounding the harm to the
      Company.
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                                          DAMAGES TO EXELON

              Exelon has expended and will continue to expend significant sums of money as a direct
      and proximate result of the misconduct described herein. Such expenditures include, but are not
      limited to, costs in responding, defending, and then settling the DOJ investigation, the costs
      expended to correct its inadequate internal controls over bribery laws and financial disclosures,
      the costs incurred investigating and defending Exelon and certain officers and directors in class
      action lawsuits for violations of securities laws, plus potentially hundreds of millions of dollars in
      settlement or to satisfy an adverse judgment, and costs incurred from compensation and benefits
      wrongly paid to individuals who breached their fiduciary duties to the Company.

              Further, the Board's inability to implement and maintain adequate internal controls exposes
      Exelon to significant reputational damage within the business community, the public, and the
      capital markets. In addition to price and product quality, Exelon's current and potential customers
      consider a company's ability to curb known abuses and implement adequate controls to ensure
      illegal practices are timely discovered and properly addressed. Lobbying is an important part of
      the Company's work, as is discussing rate setting with the public. Politicians and customers are
      less likely to do business with companies that knowingly permit and/or encourage unscrupulous
      behavior.

                                        STOCKHOLDER DEMAND

              Given the above, Mr. Clem demands that the Board take all necessary steps to investigate,
      address, and promptly remedy the harm inflicted upon Exelon as a result of the misconduct
      described herein. In particular, our client demands that the Board investigate the circumstances
      surrounding Exelon's false and misleading statements and violations of any applicable laws, rules,
      and regulations. In addition, our client demands that the Board investigate any other violations of
      applicable laws, rules, and regulations. Accordingly, the Board must undertake an investigation
      of the wrongdoing detailed herein by independent and disinterested directors with the assistance
      of independent outside legal counsel. The investigation should, among other things, be sufficient
      to determine:

                      (a)   which current or former Exelon employees, officers, and/or directors were
      responsible for, and/or had knowledge of the Company's inadequate internal controls over
      financial reporting;

                     (b)     which current or former Exelon employees, officers, and/or directors were
      responsible for, had knowledge of, and/or played an active role in the Company's failure to comply
      with applicable laws;

                     (c)    which current or former Exelon employees, officers, directors, and/or
      agents were responsible for, had knowledge of, and/or played an active role in the Company's false
      and misleading disclosures;
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                     (d)    which Exelon employees, officers, directors, and/or agents, current or
      former, were responsible for, had knowledge of, and/or played an active role in oversight of all of
      the foregoing;

                      (e)    the extent to which the current or former Exelon employees, officers,
      directors, and/or agents benefited as a result of the breaches of fiduciary duty owed to the Company
      and its stockholders; and

                     (f)     the extent to which Exelon was damaged by all of the foregoing.

             We note that on October 15, 2019, Exelon announced the departure of Anne R.
      Pramaggiore from her positions as Senior Executive President, Exelon; Chief Executive Officer,
      Exelon Utilities; and board member of ComEd. Though little information was given about Ms.
      Pramaggiore's reasons for "retiring," based on the timing of the criminal investigation by the DOJ
      and her abrupt departure, it is reasonable to believe that it was related to the bribery of ComEd.
      Accordingly, the Board's investigation must not only include wrongdoing by Ms. Pramaggiore and
      her team, but also what wrongful benefits she and her team received, and if she was wrongly
      allowed to retire with any other benefits or compensation that was the result of the wrongful
      conduct. If so, the Board must also have the Company initiate legal proceedings against those
      responsible for allowing Ms. Pramaggiore to retire unscathed.

              Following the investigation, our client demands that the Company commence legal
      proceedings against each party identified as being responsible for the mismanagement and other
      related misconduct described above. The legal proceedings should bring claims for breaches of
      fiduciary duty and indemnification and contribution, among other relevant and appropriate claims.
      The legal proceedings should also seek recovery of the salaries, bonuses, director remuneration,
      and other compensation paid to the parties responsible because these parties were unjustly enriched
      by such compensation.

              The Board must commence these legal proceedings as expeditiously as possible, keeping
      in mind the relevant statute of limitations periods. Because of concern that the proceedings cannot
      be initiated prior to the expiration of the relevant statute of limitations, the Board should secure
      tolling agreements from all potential defendants, which will allow the Board to complete its
      investigation and pursue all appropriate legal remedies. Moreover, to the extent that relevant
      statute of limitations periods expire prior to the Board commencing legal proceedings or obtaining
      tolling agreements, the Board must investigate and pursue claims for breaches of fiduciary duties
      and/or legal malpractice against those who allowed any statute of limitations periods to expire.

              Finally, the Board must take all necessary actions to reform and improve its corporate
      governance and internal procedures to comply with all applicable laws and to protect Exelon from
      committing future wasteful acts. Additionally, any future resolutions to the Company's Bylaws or
      Articles of Incorporation should be put to a stockholder vote, and the following actions may be
      necessary to ensure proper corporate governance policies:
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                   (a)    a proposal to strengthen the Board's supervision of operations and develop
      and implement procedures for greater stockholder input into the policies and guidelines of the
      Board;

                    (b)     a proposal to strengthen the Company's controls over Exelon's lobbying;

                    (c)     a proposal to strengthen the Company's disclosure controls;

                    (d)      a provision to establish a system for intake of employee complaints
      regarding potential violations of laws occurring at the Company; and

                    (e)    a provision to permit the stockholders of Exelon to nominate at least three
      independent candidates for election to the Board.

             Should you have any questions or concerns about this matter, please do not hesitate to
      contact me.

                                                                 Sincerely,



                                                                 Gregory E. Del Gaizo




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